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        MAY 0 2 2025
                                  No. 25-10481-^1

        ■^Tl ANITA Gb


            IN THE UNITED STATES COURT OF APPEALS
                          FOR THE ELEVENTH CIRCUIT
JAMES BUSSEY and BRENDA
SANDOVAL REY,
                                           On Appeal from the United States
                     Plaintiffs-Appellants District Court for the Northern District
                                           of Georgia
                     v.

FAIRWAY INDEPENDENT                         Case No. 1:24-cv-4968-VMC
MORTGAGE CORPORATION,
CHRIS SHUMATE, MCCALLA
RAYMER-LIEBERT PIERCE, LLC,
and BRIANATOOKES,

                    Defendants-Appellees.



               PLAINTIFFS-APPELLANTS REPLY BRIEF




                            James Bussey (Pro Se)
                            Brenda Sandoval Rey (Pro Se)
                            455 Liberty Trace
                            Roswell, Georgia 30076
                            404-993-3925
                            JamesBussey72@yahoo.com
                            Plaintiffs-Appellants, pro se
l:

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h


o
                                 CERTIFICATE OF INTERESTED PERSONS
ii


::
                        Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit
ii



                  Rule 26.1-1, Appellants certify the following persons and entities have an interest
 IJ


 i:               in the outcome of this appeal:
 m

 L:
                     1. James Bussey - Plaintiff-Appellant, pro se.
 ss
                     2. Brenda Sandoval Rey - Plaintiff-Appellant, pro se.
 13


     El
                     3. Fairway Independent Mortgage Corporation - Defendant-Appellee, a
     :
     :                  corporation organized under the laws of Texas, with no publicly traded
     I'l


     f!                 parent company.
         ! I



         h
                     4. Chris Shumate - Defendant-Appellee, individual.
         HI

                     5. McCalla Raymer-Liebert Pierce, LLC - Defendant-Appellee, a limited

                        liability company organized under the laws of Georgia, with no publicly
          »
                        traded parent company.
          s

          i          6. Briana Tookes - Defendant-Appellee, individual, associated with McCalla
           *
           1
                        Raymer-Liebert Pierce, LLC.

                     7. William O. Tate - Attorney for Defendants-Appellees, associated with
              !

                        McCalla Raymer-Liebert Pierce, LLC.

                     8. Judge Victoria Marie Calvert - Former presiding judge in the district

                        court, United States District Court for the Northern District of Georgia.
                                                                                                                      :


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m
                                       Appellants, James Bussey and Brenda Sandoval Rey, are individuals and not
«

 m
                                 corporations. Appellants therefore have no corporate disclosure statement to make.
 m

 m                               Defendants-Appellees Fairway Independent Mortgage Corporation and McCalla
     u

     HI                          Raymer-Liebert Pierce, LLC, are corporate entities, and their corporate disclosure
     IB

     in
                                 information is provided above to the best of Appellants' knowledge.

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                     ■




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                                                                                        i




                                 ;
in

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                                     Hickman v. Taylor, 329 U.S. 495, 507 (1947)                                                           5
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             i ;



                                     Jesinoski v. Countrywide Home Loans, Inc., 574 U.S. 259, 262 (2015)                                   3

                                     Mcirbitty v. Madison, 5 U.S. 137, 178 (1803)                                                          7

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                   ■

                                     Schware v. Board of Bar Examiners, 353 U.S. 232, 239 (1957)                                           6
                  ii
                                     Statutes

                       1
                                     12C.F.R. § 1026.23
                   !l
                   !i                15 U.S.C. § 1638(a)                                                                                   3
                   :
                                     15 U.S.C, § 1692e(3)-(4)                                                                              5

                                     18 U.S.C. § 894                                                                                       6
                            i
                                     22 U.S.C. §612.......                                                                   ..            6

                           i ■       28 U.S.C. § 1654                                                                                      6

                                     42 U.S.C. § 1983                                                                                      6
                                 i
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u

n
                     O.C.G.A. § 15-19-50                                                                          6
H


::                   Rules
n
                     Fed. R. Civ. P. 34(a)(1)                                                                     4
m
 ::                  Fed. R. Civ. P. 36(a)(3)
 ::
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     ::              Regulations
     ii
                     7 CFR§ 3555.108                                                                              5
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IS
                                    PRELIMINARY STATEMENT
11


fll               Plaintiffs-Appellants, James Bussey and Brenda Sandoval Rey^ pro se,

u           submit this Reply Brief, in Response to the Appellee’s Brief. Plain tiff’s-Appellants
I]


i:
            challenging the unlawful dismissal of Case No. l:24-cv-4968-VMC by tfye United
::
            States District Court for the Northern District of Georgia. The district court’s
 EI


 El
            actions to wit, dismissing the case without notice, hearing, or adjudication on the
 mi

 Ei
            merits, consolidating it with a previously dismissed case, and ignoring properly
 ET


 l:         filed motions, violated fundamental procedural and constitutional due process
 ii

 ii
            rights under the Fifth and Fourteenth Amendments. Appellants seek reversal,
  £1
            default judgment, rescission of the mortgage contract under the Truth in Lending
  ■i

  EI
            Act (TILA), and remand for adjudication before a new judge.
  ei


  o                           STATEMENT OF THE CASE AND FACTS
  El


  El              On October 30, 2024, Appellants filed Case No. 1:24-cv-4968-VMC,
     M


      ii
            alleging violations of TILA, RICO, and other claims related to a fraudulent
      EI


      EI
            mortgage transaction involving Defendants. Appellants paid a $405 filing fee,
      n
            distinct from the previously dismissed Case No. 1:24-cv-3329-VMC.
      K5


      n
                  Appellants filed 18 motions between October 30, 2024, and December 23,
      Bf


      n     2024, including motions for default judgment, production of records,
      n

      ::    disqualification of counsel, and disqualification of the presiding judge. All motions
      :                                                1
      SJ

      :
       :
       i.

       r
: i



: j                   USCA11 Case: 25-10481       Document: 9       Date Filed: 05/02/2025   Page: 8 of 16
:o

i:
                     were properly filed, accepted by the Clerk, and served on Defendants via certified
;:
::
                     mail.
3; i



 ::                          Defendants were served on November 4, 2024, with service registered on the
 ::
 ::                  federal docket on November 6, 2024. Defendants failed to file any responsive
 ::
 ::                  pleading or motion.
 : i
                             On November 1, 2024, two days after filing, the district court consolidated
  ::
  ::
                     Case No. 1:24-cv-4968-VMC with Case No. 1:24-cv-3329-VMC and closed the
  : i




                     new case without notice or hearing, before service was effectuated.
  ; i



  ::                         Appellants were not notified of the closure and discovered the dismissal in
  ill            •


      ::
                     February 2025 upon obtaining the docket from the Clerk.
      iifl
                             On December 23, 2024, the district court dismissed the case as frivolous,
      ::
      ::
                     ignoring Defendants’ failure to respond and Appellants’ pending motions. On
      ::
      ri             January 29, 2025, the court threatened sanctions and filing bans, citing the
       3 I


       : i           irrelevant dismissed case.
       n
       FI .
                             Appellants filed a timely notice of appeal on February 10, 2025.
       :_
                                                       ARGUMENTS
        ::
        ::
                      I.     Defendants’ Failure To Respond Mandates Default Judgment
        i :



        i:
                             Defendants’ failure to respond to the complaint or any of Appellants’ 18

         ■           motions after lawful service triggers default under Fed. R. Civ. R 55(a). “When a
         h
                                                                2
           :
           :

             1
i3


11                 USCA11 Case: 25-10481      Document: 9       Date Filed: 05/02/2025   Page: 9 of 16
83


£1
                  party against whom a judgment for affirmative relief is sought has failed to plead
S3



                  or otherwise defend, and that failure is shown by affidavit or otherwise, ihe clerk

                  must enter the party’s default.” Fed. R. Civ. P. 55(a); see H.F. Livermore Corp. v.
 n
                  Aktiengesellschaft Gebruder Loepfe, 432 F.2d 689, 691 (D.C. Cir. 1970'
 ..
         :
                        Additionally, under Fed. R. Civ. P. 36(a)(3), Defendants’ failure to respond
     :
                  to Appellants’ requests for admissions within 30 days constitutes an admission of
     E!

     :
                  all claims, including the fraudulent nature of the mortgage contract. Appellants’
     E


         :        motion for default judgment should have been granted, and the district court’s
         i:


         3;       dismissal was procedurally defective.
         r..
             i:
                  II.   Appellants’ Right To Rescind The Mortgage Under Tila Is Uncontested
             ii
                        Appellants exercised their right to rescind the mortgage under 12 C F.R. §
             r

                  1026.23, which allows rescission within three years if proper disclosures are not
              i

              j   provided. Defendants failed to provide required TILA disclosures, including

                  accurate finance charges for Appellants’ $40,000 down payment, violating 15

                  U.S.C. § 1638(a). Defendants’ failure to respond within the 20-day period rendered

                  the rescission effective by operation of law. Jesinoski v. Countrywide Home Loans,

                  Inc., 574 U.S. 259,262 (2015) (written notice of rescission is sufficient; no lawsuit

                  is required).



                                                            3
:
*                                USCA11 Case: 25-10481       Document: 9        Date Filed: 05/02/2025   Page: 10 of 16


:
                                        The district court’s dismissal without addressing the uncontested rescission
    r
                                 violates TIL A and warrants reversal.
    :
    £                            III.   Dismissal Without Notice Or Hearing Violated Due Process
    I

    .                                   The district court’s consolidation of Case No. 1:24-cv-4968-VMC with a

        i.
                                 dismissed case and its closure on November 1, 2024, without notice or hearing,

                                 violated Appellants’ due process rights under the Fifth and Fourteenth
        :
                                 Amendments. “The fundamental requirement of due process is the opportunity to
         :
         :                       be heard ‘at a meaningful time and in a meaningful manner.’” Armstrong v. Manzo,
         :
             :                   380 U.S. 545, 552 (1965); see also Matthews v. Eldridge, 424 U.S. 319, 333
             :
                                 (1976).
             :
                                        The dismissal, issued two days after filing and before the 90-day service
                 :
                 %
                                 period under Fed. R. Civ. R 4(m), constitutes reversible error. Fed. R. Civ. P. 60(b)
                 :
                                 permits relief from judgment for “mistake, fraud, or any other reason justitying

                                 relief.” The district court’s actions deprived Appellants of their constitutional right
                     :
                                 to adjudication, necessitating reversal.

                                 IV.    Failure To Compel Production Of Records Violates Discovery Rules
                     i


                         i
                                        Appellants moved for production of corporate, banking, and financial

                                 records, including the wet-ink promissory note and securitization details, under
                             !
                                 Fed. R. Civ. P. 34(a)(1). These records were critical to proving Defendants’
                                                                            4
                             *
: 3


    i                   USCA11 Case: 25-10481       Document: 9       Date Filed: 05/02/2025   Page: 11 of 16
: 3


El
                        fraudulent documentation, including a photoshopped bank statement. The district
        !

                        court’s refusal to compel production prejudiced Appellants and violated discovery
L


L .                     rules. Commercial Union Ins. Co. v. Westrope, 730 F.2d 729, 731 (11th Cir. 1984);
 ::
 ;:                     Hickman v. Taylor, 329 U.S. 495, 507 (1947) (holding that “We agree, of course,

                        that the deposition-discovery rules are to be accorded a broad and liberal treatment.
 ::
                        No longer can the time-honored cry of "fishing expedition" serve to preclude a
 n
    :
                        party from inquiring into the facts underlying his opponent's case. [Footnote 8]

    II                  Mutual knowledge of all the relevant facts gathered by both parties is essential to
    H


        n               proper litigation. To that end, either party may compel the other to disgorge
        n

        i:
                        whatever facts he has in his possession.”).
        :;
                        V.    Defendants’ Fraudulent Conduct And Unlicensed Representation
        o

        SI
                              Invalidate The Mortgage
        ::
        i:                    Defendants engaged in fraud by providing falsified bank statements and
            ::
            ::          failing to produce the original promissory note, violating 7 CFR§ 3555.108 and 15
            si

            :_
                        U.S.C. § 1692e(3)-(4). The $40,000 down payment was made under

                        misrepresented terms, rendering the mortgage void ab initio under common law
            Ml


            i:
                        fraud principles.
            i,


            :                 Additionally, Defendant Briana Tookes falsely represented herself as an
            r


             1;         attorney and debt collector without providing proof of licensure under O.C.G.A. §
                :
                                                                  5
                I-


                :


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                    ;
i


i                     USCA11 Case: 25-10481       Document: 9       Date Filed: 05/02/2025   Page: 12 of 16
L


l:
                      15-19-50 or registration under the Foreign Agents Registration Act (FARA), 22
s

:
                     U.S.C. § 612. Failure to comply with FARA creates a jurisdictional defect, voiding
:

.                    Defendants’ legal actions. Schwarev. Board ofBar Examiners, 353 U.S. 232, 239
t;

:                    (1957). The district court’s refusal to disqualify counsel was an abuse of discretion.
L



    :
                     VI.    Judicial Bias And Threats Of Sanctions Violate Due Process
    ■>
                            The district court’s January 29, 2025, order threatening sanctions and filing
    T


    i
                     bans, combined with its refusal to recuse, demonstrates judicial bias. “A fair trial in
    :

    E                 a fair tribunal is a basic requirement of due process.” In re Murchison, 349 U.S.
    i


    :                 133,136 (1955); Capertonv. A. T. Massey Coal Co., 556 U.S. 868,876 (2009). The
    !
    :
                      court’s actions, including ignoring motions and favoring Defendants, warrant
    i
                      reassignment to a new judge.
    r

    i
                    VII.    Pro Se Status Entitles Appellants To Liberal Construction

        E                   As pro se litigants, Appellants are entitled to liberal construction of their
        :
                      pleadings under 28 U.S.C. § 1654. Haines v. Kerner, 404 U.S. 519, 520 (1972).
        :                                                                                          '
                                                                                                   I'

        :
                      The district court’s dismissal without a hearing or opportunity to responc

                      undermines judicial integrity and Appellants’ right to access the courts.
        ■

        ;
                    VIII.   Constitutional And Civil Rights Violations

            _               The district court’s actions violated Appellants’ rights under 42 U.S.C. §
            :

                      1983 (deprivation of rights under color of law) and 18 U.S.C. § 894 (ex tortionate
            .
                                                                6
            :

            :

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            _
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: 1

,1                  USCA11 Case: 25-10481       Document: 9       Date Filed: 05/02/2025   Page: 13 of 16
:i



                    credit transactions). The dismissal without legal grounds or notice is null and void
11
                    under Marbury v. Madison, 5 U.S. 137, 178 (1803) (“All laws repugnant to the
r:
::                  Constitution are null and void.”).
::
 ::                                                  CONCLUSION
 u
                          WHEREFORE, Appellants respectfully request that this Court:
 n
                       1. Deny all the arguments and prayers in the Defendants-Appellees’ Briefs.
 ::
 ki
                       2. Reverse and vacate the district court’s dismissal of Case No. 1:24-cv-4968-
  ::
  ::                      VMC.
  ::
  \i                   3. Grant default judgment under Fed. R. Civ. R 55(a) due to Defendants’ failure

  ::
                          to respond.

                       4. Declare the mortgage contract rescinded and void under TILA, 12 C.F.R. §
      t:
                          1026.23.
      ::

                       5. Remand the case to the District Court with instructions to restore all 18
      :i

                          motions and assign a new judge.
      : i


      ::               6. Enjoin foreclosure proceedings pending litigation.
      ::
                       7. Disqualify Defendants’ counsel for FARA and Georgia Attorney Act
      ::
      :;
                          violations and strike unauthorized filings.
      ;:
       1 3
                       8. Compel production of corporate, banking, and financial records under Fed.
            :
                          R. Civ. P. 34.
            i



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       .4
                                                              7

                j




        i

        ■
IB

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K
                            9. Award compensatory damages, injunctive relief, and costs for filing fees and
m

tt~                            constitutional violations.
a-

 n
                            lO.Grant any further relief deemed just and proper.
 n

 ii

 it                                      4
                          Dated: MayJ^ , 2025
 I;
                                                                                        Respectfully submitted,
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  a:

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                                                                        Bvrf lmnJ>C)
                                                                                      James Bussey-p*1*0 Se)
     li.
                                                                                          455 Liberty Trace
      It
                                                                                     Roswell, Georgia 30076
      l»                                                                                      404-993-3925
      it                                                                         JamesBussey72@yahoo.com
      a

      19


      a
                                                                                  err  andoval IjLey (Pro Se)
       s
                                                                                          455 Libe rty Trace
         a                                                                           Roswell, Georgia 30076
         a                                                                                    404-993-3925
                  i
         a                                                                       JamesBussey72@yahoo.com
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h                                   USCA11 Case: 25-10481        Document: 9       Date Filed: 05/02/2025   Page: 15 of 16
L

Z
                                                           CERTIFICATE OF COMPLIANCE
:

                                            I certify that this brief complies with the type-volume limitation of Federal
::
i.
                                    Rule of Appellate Procedure 32(a)(7)(B) because it contains 1336 words, excluding
    :
    L                               the parts of the brief exempted by Federal Rule of Appellate Procedure 32(f).
    L


    l
                                            This brief complies with the typeface requirements of Federal Rule of

        r
                                    Appellate Procedure 32(a)(5) and the type style requirements of Federal Rule of

                                    Appellate Procedure 32(a)(6) because it has been prepared in a proportionally

                                    spaced typeface using Times New Roman 14-point font. See Eleventh Circuit Rule
        »
            i                       32-1.
            ■




            t
                                    Dated: May         ,2025
            i
                                                                                                    Respectfully submitted,
                t

                i                                                                   By:<                A
                                                                                                   James Bussey (Pro Se)
                                                                                                       455 Liberty Trace
                                                                                                  Roswell, Georgia 30076
                                                                                                           404-993-3925
                    i
                                                                                              JamesBussey72@yahoo.com
                    :
                    I.
                        ■




                        .
                                                                                            BghMSandoval Rey (Pro Se)
                            1                                                                         455 Liberty Trace
                                                                                                 Roswell, Georgia 30076
                                                                                                          404-993-3925
                                                                                                                 I
                                ,                                                            JamesBussey72@yahoo.com

                                                                               9
II

“I                        USCA11 Case: 25-10481      Document: 9      Date Filed: 05/02/2025   Page: 16 of 16
LI


l:
                                                    CERTIFICATE OF SERVICE
Ei

                                                          n cl
                                I certify that on May ^      , 2025,1 served a true and correct copy of the
11



::                        foregoing Initial Brief via FedEx, CM/ECF electronic filing system, and/or hand-

     ■                    delivery upon the following parties:

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 rr
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 :•
                                             2211 United States Courthouse
     I:
                                             75 Turner Drive, SW
     i
                                             Atlanta, Georgia 30303-3309

                                             Clerk of the Court of Appeals Eleventh Circuit
                                             Elbert Parr Tuttle Court of Appeals Building
                                             56 Forsyth Street N.W.
                                             Atlanta, Georgia 30303

                                             McCalla Raymer-Liebert Pierce, LLC
                                             1544 Old Alabama Road
         i
                                             Roswell, Georgia 30076
                                             Attorney William O. Tate, McCalla Raymer-Liebert Pierce,
                                             LLC
                                             Briana Tookes

             I
             i            Respectfully submitted,


                          By;     (Pwvuc\
                          JartesmtrsseTXPro^Se)
                          455 Liberty Trace
                          Roswell, Georgia 30076
                          404-993-3925
                 1
                          JamesBussey72@yahoo.com
                                                                    10




                     II
